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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                         Eastern Division
                                        Office of the Clerk

Thomas M. Gould, Clerk                                                                     Deputy-in-Charge
242 Federal Building                                                             U. S. Courthouse, Room 262
167 N. Main Street                                                               111 South Highland Avenue
Memphis, Tennessee 38103                                                          Jackson, Tennessee 38301
(901) 495-1200                                                                                (713) 421-9200


                                       NOTICE OF SETTING
                      Before Judge J. Daniel Breen, United States District Judge


                                           April 29, 2019

            RE:     1:19-10040-03-JDB
                    USA vs. ANDREW RUDIN

            Dear Sir/Madam:

             A REPORT DATE has been SET before Judge J. Daniel Breen for THURSDAY,
     MAY 16, 2019 at 10:30 A.M. The report date is required by Section IV, paragraph B(4) of the
     Speedy Trial Plan. The Plan requires defendant and his attorney appear at the above-designated
     time to give a status report to the Court on the case. Defendant must be present at the report date
     unless the Court excuses his appearance and defendant files a written waiver of appearance in
     advance of the report date. Attorneys for the Government and the Defense are expected to have
     furnished and obtained ALL DISCOVERY material prior to the report date.

             Defense counsel is expected to have discussed with defendant the options of change
     of plea or of going to trial, and should be prepared to advise the Court of defendant's plan
     in this regard at the report date.

            As to defendants on bond, failure to appear as directed will result in a forfeiture of
     that defendants’s appearance bond and issuance of a warrant for his or her arrest.

            If you have any questions about this matter, please contact the case manager at the
     telephone number provided below.

                                           Sincerely,
                                           THOMAS M. GOULD, CLERK


                                           BY:    s/ Evelyn Cheairs,
                                                  Case Manager for Judge J. Daniel Breen
                                                  731-421-9207
